     Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 1 of 39 PageID# 1




                        IN THE UNITED STATES DISTRICT COURT
                                                                                                FILED
                       FOR THE EASTERN DISTRICT OF VIRGINIA                                IN OPEN COURT
                                       Alexandria Division

UNITED STATES OF AMERICA                           UNDER SEAL

                                                                                      CLERK U.S.DIS1HICT COURT
               V.                                  CRNo. I:21-CR-245(AT       ^   '     ALEXANDRIA. VIRGINIA


IGOR Y. DANCHENKO,                                 Counts One-Five
                                                    18U.S.C. § 1001(a)(2)
                 Defendant.                        False Statements



                                         INDICTMENT


        The Grand Jury Charges that:

I.   Introduction and Overview


        1.     On or about July 31, 2016, the Federal Bureau of Investigation ("FBI") opened an

investigation known as "Crossfire Hurricane" into whether individuals associated with the Donald

J. Trump presidential campaign (the "Trump Campaign") were coordinating activities with the

Russian government.

        2.     Beginning in or about July 2016 and continuing through December 2016, the FBI

began receiving a series of reports from a former British government employee("U.K. Person-1")

that contained derogatory information on then-candidate Donald J. Trump("Trump")concerning

Trump's purported ties to Russia (the "Company Reports").

        3.     Earlier that year, a U.S.-based international law firm ("Law Firm-1"), acting as

counsel to the Hillary Clinton Presidential campaign (the "Clinton Campaign"), had retained a

U.S.-based investigative firm ("U.S. Investigative Firm-1")to conduct research on Trump and his

associates. In or about June 2016, U.S. Investigative Firm-1, in turn, retained U.K. Person-1, a
    Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 2 of 39 PageID# 2




former officer in a friendly foreign intelligence service ("Foreign Intelligence Service-1"), and his

U.K.-based firm ("U.K Investigative Firm-l"), to investigate Trump's purported ties to Russia.

       4.      During the U.S. presidential election season and afterwards, U.K. Person-1 and

employees of U.S. Investigative Firm-l provided the Company Reports to multiple media outlets

and to U.S. government personnel.

       5.      The Company Reports played an important role in applications that FBI personnel

prepared and submitted to obtain warrants pursuant to the Foreign Intelligence Surveillance Act

("FISA") targeting a United States citizen who had been an advisor to then-candidate Trump

("Advisor-1"). In connection with the FBI's Crossfire Hurricane investigation and the later

investigation by Special Counsel Robert S. Mueller III, the FBI relied substantially on the

Company Reports in these FISA applications to assert probable cause that Advisor-1 was a witting

agent of the Russian Federation.

       6.      The FBI obtained a total of four court-approved FISA applications targeting

Advisor-1, which authorized intrusive electronic surveillance of Advisor-1 from in or about

October 2016 through in or about September 2017. Each of the FISA applications set forth the

FBI's assessment that Advisor-1 was a knowing agent of Russia and further alleged - based on the

Company Reports - that Advisor-1 was part of a "well-coordinated conspiracy of co-operation"

between Trump's campaign and the Russian government.

       7.      Over time, the FBI attempted to investigate, vet, and analyze the Company Reports

but ultimately was not able to confirm or corroborate most of their substantive allegations.

       8.      In the context of these efforts, the FBI learned that U.K. Person-1 relied primarily

on a U.S.-based Russian national, IGOR DANCHENKO ("DANCHENKO"), the defendant

herein, to collect the information that ultimately formed the core of the allegations found in the
    Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 3 of 39 PageID# 3




Company Reports. From in or about January 2017 through in or about November 2017, and as

part of its efforts to determine the truth or falsity of specific information in the Company Reports,

the FBI conducted several interviews of DANCHENKO regarding, among other things, the

information that DANCHENKO had provided to U.K. Person-1 (collectively, the "Interviews").

       9.      As alleged in further detail below, DANCHENKO lied to FBI agents during these

Interviews.

       10.     First, DANCHENKO stated falsely that he had never communicated with a

particular U.S.-based individual - who was a long-time participant in Democratic Party politics

and was then an executive at a U.S. public relations firm ("PR Executive-l") - about any

allegations contained in the Company Reports. In truth and in fact, and as DANCHENKO well

knew, DANCHENKO sourced one or more specific allegations in the Company Reports

anonymously to PR Executive-l.

       11.    PR Executive-I's role as a contributor of information to the Company Reports was

highly relevant and material to the FBI's evaluation of those reports because (a) PR Executive-l

maintained pre-existing and ongoing relationships with numerous persons named or described in

the Company Reports, including one of DANCHENKO's Russian sub-sources (detailed below),

(b)PR Executive-l maintained historical and ongoing involvement in Democratic politics, which

bore upon PR Executive-l's reliability, motivations, and potential bias as a source of information

for the Company Reports, and (c)DANCHENKO gathered some of the information contained in

the Company Reports at events in Moscow organized by PR Executive-l and others that

DANCHENKO attended at PR Executive-l's invitation. Indeed, and as alleged below, certain

allegations that DANCHENKO provided to U.K. Person-1, and which appeared in the Company
    Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 4 of 39 PageID# 4




Reports, mirrored and/or reflected information that PR Executive-] himself also had received

through his own interactions with Russian nationals.

       12.     Second, DANCHENKO stated falsely during the Interviews, that, in or about late

July 2016, he received an anonymous phone call from an individual who DANCHENKO believed

to be a particular U.S. citizen and who was then president of the Russian-American Chamber of

Commerce ("Chamber President-1"). DANCHENKO also falsely stated that, during this phone

call,(i)the person he believed to be Chamber President-1 informed him,in part, about information

that the Company Reports later described as demonstrating a well-developed "conspiracy of

cooperation" between the Trump Campaign and Russian officials, and (ii) DANCHENKO and

the aforementioned person agreed to meet in New York. In truth and fact, and as DANCHENKO

well knew,DANCHENKO never received such a phone call or such information from any person

he believed to be Chamber President-1, and DANCEHNKO never made any arrangements to meet

Chamber President-1 in New York. Rather, DANCHENKO fabricated these facts regarding

Chamber President-1.


       13.    As alleged in further detail below, all ofDANCHENKO's lies were material to the

FBI because, among other reasons,(1) the FBI's investigation of the Trump Campaign relied in

large part on the Company Reports to obtain FISA warrants on Advisor-1,(2)the FBI ultimately

devoted substantial resources attempting to investigate and corroborate the allegations contained

in the Company Reports, including the reliability of DANCHENKO's sub-sources; and (3) the

Company Reports, as well as information collected for the Reports by DANCHENKO,played a

role in the FBI's investigative decisions and in sworn representations that the FBI made to the

Foreign Intelligence Surveillance Court throughout the relevant time period.
    Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 5 of 39 PageID# 5




    A. The Defendant


        14.    At all times relevant to this Indictment, DANCHENKO was a citizen of the

Russian Federation and was lawfully in the United States. DANCHENKO resided in Washington,

D.C. and Virginia.

        15.    From in or about 2005 through in or about 2010, DANCHENKO worked as an

analyst at a Washington, D.C.-based think tank ("Think Tank-F') where he focused primarily on

Russian and Eurasian geo-political matters.

       16.     In or about 2010, an employee of Think Tank-1 ("Think Tank Employee-1")

introduced DANCHENKO to U.K. Person-1.              In or about 2011, U.K. Person-1 retained

DANCHENKO as a contractor at U.K. Investigative Firm-1. In his work for U.K. Investigative

Firm-1, DANCHENKO focused primarily on Russian and Eurasian business risk assessment and

geopolitical analysis.

   B. U.K. Investigative Firm-1 and Its Role in the 2016 Presidential Election Campaign

       17.     U.K. Investigative Firm-1 was at all times relevant to this Indictment a U.K.-based

business intelligence firm. Beginning in or around June 2016, U.K. Person-1 - using information

provided primarily by DANCHENKO - began to compile and draft the Company Reports

containing purported evidence of illicit ties between Trump and the Russian government. On or

about July 5, 2016, U.K. Person-1 provided the first of the Company Reports to an FBI agent

overseas.



   C. PR Executive-1


       18.     At all times relevant to this indictment,PR Executive-1 was a Virginia-based public

relations professional employed by a Washington, D.C.-based public relations firm ("PR Firm-

1"). In or about February 2016, Think Tank Employee-1 - the aforementioned individual who
    Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 6 of 39 PageID# 6




introduced DANCHENKO to U.K. Person-1 in 2010 - introduced DANCHENKO to PR

Executive-! in connection with potential business opportunities.

       19.     In addition to his work as a public relations professional, PR Executive-1 had

served as(1)chairman ofa national Democratic political organization,(2)state chairman offormer

President Clinton's 1992 and 1996 presidential campaigns, and(3)an advisor to Hillary Clinton's

2008 Presidential campaign. Moreover, beginning in or about 1997, President Clinton appointed

PR Executive-! to two four-year terms on an advisory commission at the U.S. State Department.

With respect to the 2016 Clinton Campaign,PR Executive-! actively campaigned and participated

in calls and events as a volunteer on behalf of Hillary Clinton.

       20.     In his role as a public relations professional, PR Executive-! spent much of his

career interacting with Eurasian clients with a particular focus on Russia. For example,from in or

about 2006 through in or about 2014,the Russian Federation retained PR Executive-! and his then-

employer to handle global public relations for the Russian government and a state-owned energy

company. PR Executive-! served as a lead consultant during that project and frequently interacted

with senior Russian Federation leadership whose names would later appear in the Company

Reports, including the Press Secretary of the Russian Presidential Administration ("Russian Press

Secretary-!"), the Deputy Press Secretary ("Russian Deputy Press Secretary-!"), and others in the

Russian Presidential Press Department. Additionally, PR Executive-! maintained relationships

with the then-Russian Ambassador to the United States ("Russian Ambassador-!") and the head

of the Russian Embassy's Economic Section in Washington, D.C.("Russian Diplomat-!"), both

of whom also would later appear by name in the Company Reports.

       21.     Beginning in or about early 2015, an acquaintance ofPR Executive-1 ("Organizer-

1") was planning a business conference that Organizer-1 and others would host in October 2016
    Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 7 of 39 PageID# 7




(the "October Conference") at a Moscow hotel that would later appear in the Company Reports

(the"Moscow Hotel"). Organizer-1 planned the October Conference on behalfofa group ofsenior

international business people who were seeking to explore potential business investments in

Russia. To that end, the October Conference included individuals who could provide insight into

the economic, political, diplomatic and cultural aspects of the Russian Federation. Organizer-1

enlisted PR Executive-1 to participate in the October Conference because of PR Executive-I's

ability to set up meetings with senior Russian government officials and provide analysis of the

2016 U.S. Democratic presidential primary at the October Conference.

       22.    In preparation for the October Conference, Organizer-1 and PR Executive-1

planned and carried out a trip to Moscow in or about June 2016(the "June 2016 Planning Trip").

   D. DANCHENKO's Relationship with PR Executive-1

       23.    In or about late April 2016, DANCHENKO and PR Executive-1 engaged in

discussions regarding potential business collaboration between PR Firm-1 and U.K. Investigative

Firm-1 on issues relating to Russia. These discussions reflected that DANCHENKO and PR

Executive-1 had exchanged information regarding each other's backgrounds and professional

activities, including DANCHENKO's work for U.K. Investigative Firm-1 and U.K. Person-1.

       24.     For example, on or about April 29, 2016, DANCHENKO sent an email to PR

Executive-1 indicating that DANCHENKO had passed a letter to U.K. Person-1 on behalf of PR

Executive-1. Specifically, the email stated that DANCHENKO had "forwarded your letter" to

[U.K. Person-1] and his business partner. "I'll make sure you gentlemen meet when they are in

Washington or when you are in London."

       25.    That same day, DANCHENKO sent an email to PR Executive-1 outlining certain

work that DANCHENKO was conducting with U.K. Investigative Firm-1. The email attached a
    Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 8 of 39 PageID# 8




U.K Investigative Firm-l report titled "Intelligence Briefing Note,'Kompromat' and 'Nadzor' in

the Russian Banking Sector."

       26.     Shortly thereafter, PR Executive-1 asked DANCHENKO to assist PR Executive-

1 and Organizer-1 with the October Conference, which DANCHENKO agreed to do. PR

Executive-1 subsequently asked and received permission from Organizer-1 to enlist

DANCHENKO to assist with logistics, provide translation services, and present on various

relevant topics at the October Conference.

       27.     On or about June 10,2016,and prior to the June 2016 Planning Trip,PR Executive-

1 sent an email to a U.S.-based acquaintance which reflected that PR Executive-1 and

DANCHENKO had become colleagues and were exchanging information.                  In describing

DANCHENKO,PR Executive-1 stated: "He is too young for KGB. But 1 think he worked for

FSB. Since he told me he spent two years in Iran. And when 1 first met him he knew more about

me than 1 did.[winking emoticon]." (The Federal Security Service of the Russian Federation, or

"FSB," is the principal security agency of Russia and the principal successor agency to the KGB.)

       28.    In or about May, August, and September 2016, in preparation for the October

Conference, PR Executive-1 and Organizer-1 attended at least three meetings at the Russian

Embassy in Washington, D.C., and communicated with Russian Embassy staff, including Russian

Ambassador-1 and Russian Diplomat-1 (both of whom, as described above and in further detail

below, appeared in the Company Reports).      PR Executive-1 and Organizer-1 also attended a

meeting at the Russian Embassy on or about September 14, 2016. DANCHENKO did not attend

any of these meetings.
    Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 9 of 39 PageID# 9




       29.    In anticipation of the June 2016 Planning Trip to Moscow, PR Executive-1 also

communicated with Russian Press Secretary-1 and Russian Deputy Press Secretary-1, both of

whom worked in the Kremlin and, as noted above, also appeared in the Company Reports.

       30.    On or about June 13, 2016, PR Executive-1 and Organizer-1 traveled to Moscow

for the June 2016 Planning Trip. PR Executive-1 and Organizer-1 stayed at the Moscow Hotel.

On or about June 14, 2016, DANCHENKO, who, at the time was already present in Russia

working on behalf of U.K. Investigative Firm-1, met with PR Executive-1 and Organizer-1 in

Moscow. DANCHENKO did not stay at the Moscow Hotel during the June 2016 Planning Trip.

       31.    During the June 2016 Planning Trip at the Moscow Hotel, PR Executive-1 and

Organizer-1 participated in, among other things,(1) a meeting with the general manager of the

Moscow Hotel ("General Manager-1") and a female hotel staff member ("Staff Member-1") to

discuss the October Conference,(2) a lunch on or about June 15, 2016 with Staff Member-1 and

other members of the Moscow Hotel staff who assisted in the preparations for the October

Conference, and (3)a tour of the Moscow Hotel, including the Presidential Suite.

       32.    In addition, and as described in further detail below, references to the Moscow

Hotel, the Presidential Suite, and a Moscow Hotel manager and other staff would all later appear

in the Company Reports.

       33.    On or about June 14, 2016, DANCHENKO visited PR Executive-1 and others at

the Moscow Hotel, and posted a picture on social media of himself and PR Executive-1 with Red

Square appearing in the background.

       34.    On or about June 17, 2016, DANCHENKO flew from Moscow to London. While

in London, DANCHENKO met with U.K. Person-1 to provide him with information that would

later appear in the Company Reports.
   Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 10 of 39 PageID# 10




       35.    On or about October 4, 2016, PR Executive-1, Organizer-1, and DANCHENKO

traveled to Moscow^ for the October Conference.       The October Conference featured several

Russian government officials including (i) a prominent member ofthe Duma(Russian Parliament)

("Duma Member-1") and (ii) members of the Russian Ministry of Foreign Affairs, including, as

discussed above, Russian Diplomat-1 and another Russian diplomat("Russian Diplomat-2"). As

part of the October Conference, participants also attended meetings in the Kremlin with the

Russian Ministry of Foreign Affairs and the Russian Presidential Press Department.

       36.    According to PR Executive-1, individuals affiliated with the Clinton Campaign did

not direct, and were not aware of,the aforementioned meetings and activities with DANCHENKO

and other Russian nationals.


   E. (U)Russian Sub-Source-1

       37.    At all    times relevant to      this Indictment, DANCHENKO             maintained

communications with a Russian national ("Russian Sub-Source-1") based in a foreign country

("Country-1") who, according to DANCHENKO, acted as one of DANCHENKO's primary

sources of information for allegations contained in the Company Reports. DANCHENKO and

Russian Sub-Source-1 had initially met as children in Russia, and remained friends thereafter.

       38.    In or about early 2016, Russian Sub-Source-1 began working at a business based

in Country-1 ("Business-1") that was owned by a Russian national and would later appear in the

Company Reports. Russian Sub-Source-1 conducted public relations and communications work

for Business-1.


   F. DANCHENKO Introduces Russian Sub-Source-1 to PR Executive-1

       39.    In or about March 2016,and prior to the June 2016 Planning Trip, DANCHENKO

leamed from Russian Sub-Source-1 that Business-1 was interested in retaining a U.S.-based public


                                               10
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 11 of 39 PageID# 11




relations firm to assist with Business-l's entry into the U.S. market. DANCHENKO brokered a

meeting between PR Executive-! and Russian Sub-Source-1 to discuss a potential business

relationship. Thereafter, PR Firm-1 and Business-1 entered a contractual relationship.

       40.        In or around the same time period, DANCHENKO,PR Executive-!, and Russian

Sub-Source-1 communicated about, among other things, the business relationship between

Business-! and PR Firm-1.

       41.        During the same time period, Russian Sub-Source-1 and PR Executive-!

communicated regularly via social media, telephone, and other means. In these communications

and others, Russian Subsource-1 and PR Executive-1 discussed their political views and their

support for Hillary Clinton.

             a.   For example, during July 2016 meetings in Country-!, PR Executive-! gifted to

Russian Sub-Source-1 an autobiography of Hillary Clinton, which he signed and inscribed with

the handwritten message, "To my good friend [first name of Russian Sub-Source-1], A Great

Democrat."


             b.   Additionally, on or about July 13, 2016, Russian Sub-Source-1 sent a message to

a Russia-based associate and stated that PR Executive-! had written a letter to Russian Press

Secretary-1 in support of Russian-Sub-Source-1's candidacy for a position in the Russian

Presidential Administration.

             c.   On or about July 22, 2016, PR Executive-! sent an email to Russian Sub-Source-

I and informed Russian Sub-Source-1 that he would be attending a reception for Hillary Clinton.

Shortly thereafter, Russian Sub-Source-1 responded:"[T]ell her please she [Clinton] has a big fan

in [Country-!]. Can I please ask you to sign for me her (anything)."




                                                11
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 12 of 39 PageID# 12




             d.    In or about August 2016, Russian Sub-Source-1 sent a message to a Russia-based

associate describing PR Executive-! as an "advisor" to Hillary Clinton. Russian Sub-Source-1

further commented regarding what might happen if Clinton were to win the election, stating in

Russian,"[W]hen [PR Executive-! and others] take me off to the State Department [to handle]

issues of the former USSR,then we'll see who is looking good and who is not."

             e.    In or about September 2016, Russian Sub-Source-1 made a similar comment in a

message to the same associate, stating in Russian that PR Executive-1 would "take me to the State

Department if Hillary wins."

             f.    On or about November 7, 2016 (the day before the 2016 U.S. Presidential

election), Russian Sub-Source-1 emailed PR Executive-! in English and stated, in part:

                  [] I am preparing you some information on former USSR/UIC
                  countries, Igor[DANCHENKO]possibly told you about that
                  Tomorrow your country is having a great day, so, as a big Hillary
                  fan, I wish her and all her supporters to have a Victory day. Hope,
                  that someday her book will have one more autograph on it)

                  Thank you for your help and support.

                  Best regards,
                  [First Name of Russian Sub-Source-1]

   G. Chamber President-1

       42.        At all times relevant to this Indictment, Chamber President-1 was a New York-

based real estate broker. Chamber President-! previously served as president of the Russian-

American Chamber of Commerce from 2006 to 2016. In the course of his employment. Chamber

President-1 had occasion to work on real estate projects with Trump and staff at the Trump

Organization, which at all times relevant to this Indictment was owned by Trump.




                                                  12
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 13 of 39 PageID# 13




       43.    As discussed more fully below, DANCHENKO claimed to have sourced several

allegations contained in the Company Reports to Chamber President-1, including allegations of

purported ongoing communications between the Trump campaign and Russian officials.

   H. DANCHENKO's U.S. Election Reporting

       44.    As alleged above and in further detail below, from in or about May 2016 through

in or about December 2016, during the same time period as the events set forth above involving

PR Executive-1 and Organizer-1 (including the June 2016 Planning Trip and the October

Conference), DANCHENKO assembled and provided to U.K. Person-1 purported information

that U.K. Person-1 would, in turn, use to draft the Company Reports. DANCHENKO gathered

some of this purported information during the June 2016 Planning Trip and the October

Conference. Indeed, and as alleged below, certain allegations that DANCHENKO provided to

U.K. Person-1, and which appeared in the Company Reports, mirrored and/or reflected

information that PR Executive-1 himself also had received through his own interactions with

Russian nationals.


II. DANCHENKO's False Statements Involving PR Executive-1


   A. PR Executive-1 Provides Information Regarding Campaign Manager-1

       45.    At least one allegation contained in a Company Report dated August 22, 2016,

reflected information that DANCHENKO collected directly from PR Executive-1. In particular,

that Company Report detailed the August 2016 resignation of Trump's Campaign Manager

("Campaign Manager-1") and his allegedly strained relationship with another campaign staff

member("Campaign Staff Member-1"). The allegation in the Company Report stated:

              Close associate of TRUMP explains reasoning behind [Campaign
              Manager-I's] recent resignation. Ukraine revelations played part
              but others wanted [Campaign Manager-1] out for various reasons,
              especially [Campaign Staff Member-1] who remains influential...


                                             13
   Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 14 of 39 PageID# 14




               Speaking separately, also in late August 2016, an American
               political figure associated with Donald TRUMP and his campaign
               outlined the reasons behind [Campaign Manager-I's] recent demise.
               S/he said it was true that the Ukraine corruption revelations had
               played a part in this, but also, several senior players close to
               TRUMP had wanted [Campaign Manager-1] out, primarily to
               loosen his control on strategy and policy formulation. Of particular
               importance in this regard was [Campaign Manager-I's]
               predecessor as campaign manager,[Campaign Staff Member-
               1], who hated [Campaign Manager-1] personally and remained
               close to TRUMP with whom he discussed the presidential
               campaign on a regular basis.

(emphasis added)(capitalization in original).

       46.     This Company Report contained information that DANCHENKO had gathered

directly from PR Executive-1 in response to a specific request. In particular, on or about August

19, 2016, DANCHENKO emailed PR Executive-1 to solicit any "thought, rumor, or allegation"

about Campaign Manager-1. In the email, DANCHENKO also informed PR Executive-1 that he

(DANCHENKO)was working on a "project against Trump":

              Could you please ask someone to comment on[Campaign Manager-
              1's] resignation and anything on Trump campaign? Off the record
              of course! Any thought, rumor, allegation. I am working on a
              related project against Trump. I asked [PR Executive-l's
              acquaintance] three months ago but he didn't say much although
              shared a couple of valuable insights.

              Thanks a lot!


              Best,
              Igor

(emphasis added)

       47.    Later that day, PR Executive-1 replied to DANCHENKO,stating in part:

                      Let me dig around on [Campaign Manager-1]. Pretty sure
                      the new team wanted him gone asap and used today's NYT
                      story to drive a stake in his heart.



                                                 14
   Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 15 of 39 PageID# 15




       48.     On or about August 20, 2016,PR Executive-1 emailed DANCHENKO the

following:

                      Hi Igor:

                      I had a drink with a GOP friend of mine who knows some
                      of the players and got some of what is in this article, which
                      provides even more detail. She also told me that
                      [Campaign Staff Member-1], who hates [Campaign
                      Manager-1] and still speaks to Trump regularly played a
                      role. He is said to be doing a happy dance over it.

                      I think the bottom line is that in addition to the Ukraine
                      revelations, a number of people wanted Campaign
                      Manager-1 gone. It is a very sharp elbows crowd.

(emphasis added). PR Executive-1 attached to the email a link to an internet news article that

discussed Campaign Manager-I's resignation as Trump Campaign manager.

       49.     Later that day, DANCHENKO replied to PR Executive-1, expressing his

appreciation for the information, and stating that their "goals clearly coincide[d]" with regard to

DANCHENKO's efforts to gather derogatory information about Trump:

               Dear[PR Executive-!],

               Thank you for this.       Any additional insights will be much
               appreciated.

              It is an important project for me,and our goals clearly coincide.
              I've been following the Russia trail in Trump's campaign. It is there
              so what you read in the news is hardly an exaggeration. Some things
              are less dramatic while others are more than they seem.

(emphasis added).

       50.    PR Executive-1 replied to DANCHENKO with the following: "Thanks! I'll let

you know if I hear anything else."

       51.    PR Executive-! provided this information regarding Campaign Manager-! to

DANCHENKO two days before it appeared in the August 22, 2016 Company Report.                     As

                                                15
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 16 of 39 PageID# 16




reflected above, the information provided by PR Executive-! was substantially the same as the

information contained in the Company Report. In particular:

             a. PR Executive-1 claimed to have received the information from a "GOP friend,"

whom the above-referenced Company Report describes as a "close associate of Trump."

             b. In his email, PR Executive-1 referred to "Ukraine revelations" about Campaign

Manager-1, which the Company Report also refers to as the "Ukraine corruption revelations."

             c. PR Executive-l's email stated a "number of people wanted [Campaign

Manager-1] gone." The Company Report similarly stated that "several senior players close to

TRUMP had wanted [Campaign Manager-1] out." (emphasis added).

             d. PR Executive-l's email stated that "[Campaign Staff Member-1], who hates

[Campaign Manager-1] and still speaks to Trump regularly played a role" in Campaign

Manager-1's departure, (emphasis added). The Company Report similarly states that Campaign

Manager-l's departure was due to "[Campaign Staff Member-1], who hated [Campaign

Manager-l] personally and remained close to TRUMP."(emphasis added).

       52.      PR Executive-! later acknowledged to the FBI that he never met with a "GOP

friend" in relation to this information that he passed to DANCHENKO,but, rather, fabricated the

fact ofthe meeting in his communications with DANCHENKO. PR Executive-! instead obtained

the information about Campaign Manager-1 from public news sources.           According to PR

Executive-!, he(PR Executive-!) was not aware at the time of the specifics of DANCHENKO's

"project against Trump," or that DANCHENKO's reporting would be provided to the FBI.




                                              16
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 17 of 39 PageID# 17




   B. DANCHENKO's Statements to the FBI Regarding PR Executive-1


       53.    On or about June 15, 2017, the FBI interviewed DANCHENKO in the Eastern

District of Virginia regarding the Company Reports. FBI agents recorded the June Interview

without DANCHENKO's knowledge.

       54.    During the interview,the FBI asked DANCHENKO,among other things, if he had

talked to PR Executive-1 regarding any allegations contained in the Company Reports.

DANCHENKO denied that PR Executive-1 provided any specific information related to the

Company Reports. In particular, when an FBI agent ("Agent-1") mentioned PR Executive-I's

name during a conversation about individuals who may have contributed to the Company Reports,

the following exchange, in part, occurred:

              FBI AGENT-1:           Um,because obviously I don't think you're the only ...

              DANCHENKO:             Mm-hmm.


              FBI AGENT-1                   Person that has been contributing. You may have
                                     said one - and this is the other thing we are trying to figure
                                     out.



                                     [• • •]

              FBI AGENT-1:           Do you know a[PR Executive-1]?

              DANCHENKO:             Do I know [PR Executive-1]? Yeah.

              FBI AGENT-1:           How long have you known him? [laughing]

                                    [pause]

              DANCHENKO:             I've known [PR-Executive-1] for [pause] I
                                     don't know, a couple years maybe.

              FBI AGENT-1:           Couple years?

              DANCHENKO:             But but but but but but but I've known of
                                     him for like 12 years.



                                               17
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 18 of 39 PageID# 18




                                     [...]

              DANCHENKO:             Yeah. Yeah he likes Russia. I don't think
                                     he is, uh,- would be any way be involved.
                                     But—^but—uh—b—but he's uh [UI] what I
                                     would think would be easily played.
                                     Maybe. Uh, he's a bit naive in his, um
                                     liking of Russia.

              FBI AGENT-1            Okay,so you've had ... was there any ...
                                     but you had never talked to [PR
                                     Executive-1] about anything that showed
                                     up in the dossier[Company Reports]
                                     right?

              DANCHENKO:             No.


              FBI AGENT-1            You don't think so?


              DANCHENKO:             No. We talked about, you know, related
                                     issues perhaps but no, no, no, nothing
                                     specific.

(emphasis added).

       55.     In a later part ofthe conversation, DANCHENKO stated, in substance and in part,

that PR Executive-1 had traveled on the October "delegation" to Moscow; that PR Executive-1

conducted business with Business-1 and Russian Sub-source-1; and that PR Executive-1 had a

professional relationship with Russian Press Secretary-1.

       56.    DANCHENKO's June 15, 2017 statements that (i) he never talked to [PR

Executive-1] about "anything [specific] that showed up" in the Company Reports, and that (ii) he

did not think PR Executive-1 was "involved in any way" in those reports, were knowingly and

intentionally false. In truth and in fact, and as DANCHENKO well knew, DANCHENKO had

gathered specific information from PR Executive-1 that appeared in the August 22,2016 Company

Report concerning Campaign Manager-1's resignation.




                                               18
   Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 19 of 39 PageID# 19




in. The Materiality of DANCHENKO's Lies Regarding PR Executive-1

        57.    DANCHENKO's lies denying PR Executive-l's role in specific information

referenced in the Company Reports were material to the FBI because, among other reasons, they

deprived FBI agents and analysts of probative information concerning PR Executive-1 that would

have, among other things, assisted them in evaluating the credibility, reliability, and veracity of

the Company Reports, including DANCHENKO's sub-sources. In particular, PR Executive-1

maintained connections to numerous people and events described in several other reports, and

DANCHENKO gathered information that appeared in the Company Reports during the June

Planning Trip and the October Conference. In addition, and as alleged below, certain allegations

that DANCHENKO provided to U.K. Person-1, and which appeared in other Company Reports,

mirrored and/or reflected information that PR Executive-1 himself also had received through his

own interactions with Russian nationals.       As alleged below, all of these facts rendered

DANCHENKO's lies regarding PR Executive-l's role as a source of information for the

Company Reports highly material to the FBI's ongoing investigation.

    A. DANCHENKO's Allegations Regarding Trump's Salacious Sexual Activity

       58.     For example,an allegation in a Company Report dated June 20,2016 indicated that

Trump had previously engaged in salacious sexual activity while a guest at the Moscow Hotel.

The allegation stated, in part:

               According to Source D, where s/he had been present, TRUMP's
               (perverted)conduct in Moscow included hiring the presidential suite
               ofthe[Moscow Hotel], where he knew President and Mrs OBAMA
              (whom he hated) had stayed on one of their official trips to Russia,
              and [engaged in sexual activity]. The hotel was known to be under
               FSB control with microphones and concealed cameras in all the
               main rooms to record anything they wanted to.

               The[Moscow Hotel] episode involving TRUMP reported above was
               confirmed by Source E, a senior (western) member of staff at

                                               19
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 20 of 39 PageID# 20




               the hotel, who said that s/he and several of the staff were aware of
               it at the time and subsequently. S/he believed it had happened in
               2013. Source E provided an introduction for a company ethnic
               Russian operative to Source F, a female staffer at the hotel when
               TRUMP had stayed there, who also confirmed the story.

(emphasis added)(capitalization in original).

   PR Executive-1 and Organizer-1 Receive a Tour ofthe Moscow Hotel's Presidential Suite

       59.     Certain ofthe information in the June 20,2016 Company Report reflected facts that

PR Executive-1 and Organizer-1 also learned during the June 2016 Planning Trip to Moscow.

       60.      For example, and as alleged above, during the June 2016 Planning Trip, both PR

Executive-1 and Organizer-1 stayed at the Moscow Hotel.        While at the Moscow Hotel, PR

Executive-1 and Organizer-1 (i) received a tour of the Moscow Hotel's Presidential Suite (ii) met

with the general manager ("General Manager-1") and other staff of the Moscow Hotel, and (iii)

attended meetings - to include with DANCHENKO - at various Russian government ministries.

Further, PR Executive-1 had lunch with DANCHENKO during the June 2016 Planning Trip.

       61.     According to Organizer-1, during the aforementioned tour of the Presidential

Suite, a Moscow Hotel staff member told the participants, including PR Executive-1, that Trump

had stayed in the Presidential Suite. According to both Organizer-1 and PR Executive-1, the staff

member did not mention any sexual or salacious activity.

              DANCHENKO's Statements to the FBI Regarding the Moscow Hotel

       62.    During the Interviews in or about 2017 in which he was asked about this Company

Report, DANCHENKO initially claimed to have stayed at the Moscow Hotel in June 2016.

DANCHENKO later acknowledged in a subsequent interview, however, that he did not stay at

the Moscow Hotel until the October Conference.




                                                20
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 21 of 39 PageID# 21




       63.     During the Interviews, DANCHENKO claimed to have collected information

concerning Trump's purported activities at the Moscow Hotel from various sources, including but

not limited to General Manager-1 and other Moscow Hotel staff.

       64.     DANCHENKO further claimed that he characterized Trump's alleged activity to

U.K. Person-1 as "rumor and speculation," and that DANCHENKO had been unable to confirm

the veracity of the story.

       65.     Based on the foregoing, DANCHENKO's lies to the FBI denying that he had

communicated with PR Executive-1 regarding information in the Company Reports were highly

material. Had DANCHENKO accurately disclosed to FBI agents that PR Executive-! was a

source for specific information in the aforementioned Company Reports regarding Campaign

Manager-l's departure from the Trump campaign, see Paragraphs 45-57, supra, the FBI might

have taken further investigative steps to, among other things, interview PR Executive-1 about (i)

the June 2016 Planning Trip, (ii) whether PR Executive-! spoke with DANCHENKO about

Trump's stay and alleged activity in the Presidential Suite of the Moscow Hotel, and (iii) PR

Executive-I's interactions with General Manager-! and other Moscow Hotel staff. In sum, given

that PR Executive-! was present at places and events where DANCHENKO collected information

for the Company Reports, DANCHENKO's subsequent lie about PR Executive-I's connection to

the Company Reports was highly material to the FBI's investigation of these matters.

   B. DANCHENKO's Allegations Regarding Russian Diplomat-!

       66.     Another allegation in the Company Reports that demonstrated the materiality of

DANCHENKO's lies regarding PR Executive-1 was dated September 14, 2016 and claimed that

the Russian government withdrew Russian Diplomat-! from his job at the Russian Embassy in




                                              2!
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 22 of 39 PageID# 22




Washington, D.C. due to fears relating to the diplomat's purported role in meddling in the U.S.

presidential election. Specifically, the allegation in the Company Report stated:

              [S]peaking [] to [a] compatriot, a senior Russian [Ministry of
              Foreign Affairs] official reported that as a prophylactic measure, a
              leading Russia diplomat, [Russian Diplomat-l], had been
              withdrawn from Washington on short notice because Moscow
              feared his heavy involvement in the US presidential election
              operation,including the so-called veterans' pensions ruse (reported
              previously), would be exposed in the media there. His replacement,
              [Russian Diplomat-2] however was clean in this regard.

             PR Executive-1 Receives Information Regarding Russian Diplomat-l

       67.     This allegation - like the allegation concerning the Presidential Suite of the

Moscow Hotel - bore substantial similarities to information that PR Executive-1 received during

the 2016 time period.

       68.     For example, and as discussed above, in or about May, August, and September

2016, and in preparation for the October Conference, PR Executive-1 and Organizer-1 had

attended meetings with staff of the Russian Embassy in Washington, D.C., including Russian

Diplomat-l. DANCHENKO was not present at these meetings.

       69.     After one of these meetings on or about May 31, 2016, a member of the Russian

Embassy staff informed PR Executive-1 and Organizer-1 in an email that Russian Diplomat-l

would be recalled back to Russia in September 2016 and replaced by Russian Diplomat-2.

DANCHENKO was not a recipient of this email.

       70.     On or about August 2, 2016, PR Executive-1 and Organizer-1 attended another

meeting with Russian Diplomat-l at the Russian Embassy in Washington, D.C. DANCHENKO

was not present at this meeting.

       71.    On or about August 19, 2016, Russian Diplomat-l sent an email to PR Executive-

1 and others. The email stated, in substance and part, that Russian Diplomat-l was returning to

                                               22
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 23 of 39 PageID# 23




Russia and was being replaced by Russian Diplomat-2. Russian Diplomat-1 further stated:

"[Russian Diplomat-2] is a talented diplomat and economist with impressive experience in

American studies."(emphasis added).

       72.      On or about September 13, 2016-the day prior to the date ofthe Company Report

containing the allegation regarding Russian Diplomat-1 -PR Executive-1 called DANCHENKO.

At the time of the call, DANCHENKO was in Russia.

               DANCHENKO's Statements to the FBI Regarding Russian Diplomat-1

       73.      When interviewed separately by the FBI in or about 2017, DANCHENKO and

U.K. Person-1 provided differing information about the purported source(s) of these allegations

regarding Russian Diplomat-1:

             a. In particular, on or about January 25, 2017, DANCHENKO stated to FBI agents

that he learned of the information about Russian Diplomat-I's departure from Russian Diplomat-

1 himself while Russian Diplomat-1 was helping DANCHENKO obtain a new Russian passport.

DANCHENKO further stated that Russian Diplomat-1 described his replacement, Russian

Diplomat-2, as a "bright young guy"- similar to the statement contained in the aforementioned

August 2016 email from Russian Diplomat-1 to PR Executive-1. DANCHENKO also stated to

the FBI that his conversation with Russian Diplomat-1 occurred in late spring 2016- in or around

the same time that PR Executive-1 and Organizer-1 first learned of Russian Diplomat-I's

impending return to Russia. DANCHENKO denied speaking with Russian Diplomat-1 at the

October Conference in Moscow.

       74.      However, when interviewed by the FBI on or about September 18 and 19, 2017,

U.K. Person-1 stated that DANCHENKO learned of the aforementioned allegation in Moscow




                                              23
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 24 of 39 PageID# 24




after bumping into Russian Diplomat-1 on the street in August 2016. In fact, DANCHENKO was

located in the United States in August 2016.

       75.     Based on the foregoing, DANCHENKO's lies to the FBI denying that he had

communicated with PR Executive-1 regarding information in the Company Reports were highly

material. Had DANCHENKO accurately disclosed to FBI agents that PR Executive-1 was a

source for specific information in the Company Reports regarding Campaign Manager-1's

departure from the Trump campaign, see Paragraphs 45-57,supra, the FBI might also have taken

further investigative steps to,among other things, interview PR Executive-1 regarding his potential

knowledge of Russian Diplomat-I's departure from the United States. Such investigative steps

might have assisted the FBI in resolving the above-described discrepancy between

DANCHENKO and U.K. Person-1 regarding the sourcing of the allegation concerning Russian

Diplomat-1.

   C. DANCHENKO's Allegation Regarding Russian Chief of Staff-1

       76.     A final allegation in a Company Report that demonstrated the materiality of

DANCHENKO's false statements denying PR Executive-I's role as a source for information in

the Company Reports was dated September 14, 2016, and contained information related to the

firing of the chief of staff of the Russian Presidential Administration ("Russian Chief of Staff-1").

The allegation stated:

               PUTIN had been receiving conflicting advice on interfering from
               three separate and expert groups. On one side had been the Russian
               ambassador to the US,[Russian Ambassador-1], and the Ministry of
               Foreign Affairs, together with an independent and informafnetwork
               run by presidential foreign policy advisor, [Former Russian
               Ambassador to the U.S.] who had urged caution and the potential
               negative impact on Russia from the operation/s. On the other_side
               was former [Russian Chief of Staff-1], backed by Russian Foreign
               Intelligence(SVR), who had advised PUTIN that the pro-TRUMP,
               anti-CLINTON operation/s would be both effective and plausibly

                                                24
   Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 25 of 39 PageID# 25




               deniable with little blowback. The first group/s had been proven
              right and this had been the catalyst in PUTIN'S decision to sack
              [Russian Chief of Staff-1](unexpectedly)as PA Head in August.
              His successor,[name of Russian Official], had been selected for
               the job partly because he had not been involved in the US
               presidential election operation/s.

(emphasis added)(capitalization in original).

                PR Executive-1 Receives Information Regarding ChiefofStaff-1

       77.     This allegation coincided with information that PR Executive-1 had received

regarding changes in the Russian Presidential Administration in the weeks prior to the issuance of

the Company Report.

       78.    In particular, on or about August 12,2016,the same day that Russian ChiefofStaff-

1 was reportedly fired, Russian Sub-Source-1 sent a message to PR Executive-1 on social media

and stated, "Russian presidential administration is making significant changes right now."

DANCHENKO was not copied on this message.

       79.     Minutes later, PR Executive-1 and Russian Sub-Source-1 spoke for approximately

10 minutes.


       80.     On or about September 13,2016 -the day prior to the date of the Company Report

containing the allegation regarding Russian Chief of Staff-1 - PR Executive-1 called

DANCHENKO. At the time of the call, DANCHENKO was in Russia.

               DANCHENKO's Statements to the FBI Regarding ChiefofStaff-1

       81.    In the aforementioned January 25,2017 interview, the FBI asked DANCHENKO

about the sourcing of this allegation. DANCHENKO stated to the FBI that he learned about the

allegation involving Russian Chief of Staff-1 from Russian Sub-Source-1 and "two other friends."

DANCHENKO did not identify the two other "friends," nor did he mention PR Executive-1 in

connection with the allegation.


                                                25
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 26 of 39 PageID# 26




       82.     Based on the foregoing, DANCHENKO's lie to the FBI about PR Executive-1 not

providing information contained in the Company Reports was highly material. Had

DANCHENKO accurately disclosed to FBI agents that PR Executive-1 was a source for specific

information in the aforementioned Company Reports regarding Campaign Manager-I's departure

from the Trump campaign, see Paragraphs 45-57, supra, the FBI might have taken further

investigative steps to, among other things, interview PR Executive-1 regarding his potential

knowledge of additional allegations in the Company Reports regarding Russian Chief of Staff-1.

Such investigative steps might have, among other things, assisted the FBI in determining whether

PR Executive-1 was one of DANCHENKO's "other friends" who provided the aforementioned

information regarding Putin's firing of Russian Chief of Staff-1.

IV. DANCHENKO's False Statement Regarding Disclosure of
     his Relationship with U.K. Person-1 and U.K. Investigative Firm-1


       83.    In another interview conducted by the FBI on or about January 24, 2017 in the

District of Columbia,DANCHENKO made another intentionally false statement that involved his

activities with PR Executive-1, among others. In particular, the FBI questioned DANCHENKO

during this interview about, among other things, his relationship with U.K. Person-1 and U.K.

Investigative Firm-1. FBI agents asked DANCHENKO whether his friends, associates, and/or

sub-sources were aware that he (DANCHENKO) worked for U.K. Person-1 and U.K.

Investigative Firm-1.

       84.    In response,DANCHENKO falsely stated, in sum and substance,that while certain

friends were aware that DANCHENKO worked generally in due diligence and business

intelligence, DANCHENKO never mentioned that he worked for U.K. Person-1 or U.K.

Investigative Firm-1 to his friends or associates. DANCHENKO further stated, "you [the FBI]

are the first people" he had told. DANCHENKO added that the reason he never told associates

                                               26
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 27 of 39 PageID# 27




about his relationship with U.K. Person-1 and U.K. Investigative Firm-1 was the existence of a

non-disclosure agreement he signed with U.K. Person-1 and U.K. Investigative Firm-1.

       85.    DANCHENKO's statements asserting that he had not informed friends and

associates of his relationship with U.K. Person-1 and the U.K. Investigative Firm were knowingly

and intentionally false. On numerous occasions, and as DANCHENKO well knew, he had

informed PR Executive-1, Russian Sub-Source-1, and others about his relationship with U.K.

Person-1 and U.K. Investigative Firm-1. For example, and as alleged above, DANCHENKO

attempted to broker business between PR Executive-1 and U.K. Person-1 as early as in or about

April 2016. See Paragraphs 23-25,supra. Moreover,in the context ofthese efforts and afterwards,

PR Executive-1 exhibited specific awareness ofDANCHENKO's relationships with U.K. Person-

1 and U.K. Investigative Firm-1. For example, on or about June 10, 2016,PR Executive-1, while

in Country-1 with Russian Sub-Source-1, emailed a U.S.-based acquaintance regarding efforts to

assist DANCHENKO in obtaining a U.S. visa:

              Monday night I fly to Moscow and will meet with a Russian guy
              who is working with me on a couple of projects. He also works for
              a group of former [allied foreign intelligence service] guys in
              London who do intelligence for business ....[H]e owes me as his
              Visa is being held up and I am having a word with the Ambassador.

(emphasis added).

       86.    Approximately seven months later, on or about January 13, 2017, PR Executive-1

replied to an email sent by a U.S.-based person discussing a recent news article regarding the

Company Reports, including the allegations concerning Business-1. In the email, PR Executive-

I again demonstrated his knowledge of DANCHENKO's relationship with U.K. Investigative

Firm-1 and the Company Reports:

              [] I've been interviewed by the Washington Post and the London
              Times - three times over the last two days over the [Foreign

                                              27
   Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 28 of 39 PageID# 28




               Intelligence Service-1] Dossier on Trump and I know the
               Russian agent who made the report(He used to work for me).
               My client in [Country-1][Business-1] has been accused of being the
               party that organized the hacking. Presently speaking with the
               barrister in London who is filing a brief against Former British
               [Government Employee][U.K. Person-l] has been unmasked as
               the man behind an explosive dossier about US president-elect
               Donald Trump. Also in conversation with former British
               Ambassador who knows [U.K. Person-l]. Quite right - Oh what a
               boring life.

(bold emphasis added)(underline in original).

        87.    At this time, DANCHENKO was not publicly known to be a source for U.K.

Person-l.


        88.    Further demonstrating the falsity of DANCHENKO's statements to the FBI,

DANCHENKO's email and social media communications reflect that he also previously had

disclosed his relationship with U.K. Investigative Firm-1 to at least five other individuals,

including Russian Sub-Source-1 and acquaintances based in the United States, the United

Kingdom, and Russia. For example, on or about July 28, 2016, DANCHENKO sent a message

to an acquaintance and stated "Thanks to my reporting in the past 36 hours,[U.K. Person-l] and

[U.K. Investigative Firm-1 Employee] are flying in tomorrow for a few days so I might be busy .

. . ." In addition, on or about September 18, 2016, DANCHENKO sent a message to the same

acquaintance stating that DANCHENKO had "[w]ork to do for [U.K. Person-l] who's probably

coming to DC on Wednesday." U.K. Person-l did, in fact, travel to Washington. D.C. on or about

September 21, 2016.

       89.      Accordingly, DANCHENKO's January 24, 2017 statements (i) that he never

mentioned U.K. Person-l or U.K. Investigative Firm-1 to his friends or associates and (ii) that

"you [the FBI] are the first people he's told," were knowingly and intentionally false. In truth and

in fact, and as DANCHENKO well knew,DANCHENKO had informed a number of individuals


                                                28
     Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 29 of 39 PageID# 29




about his relationship with U.K. Person-1 and U.K. Investigative Firm-1. Such lies were material

to the FBI's ongoing investigation because, among other reasons, it was important for the FBI to

understand how discreet or open DANCHENKO had been with his friends and associates about

his status as an employee of U.K. Investigative Firm-1, since his practices in this regard could, in

turn, affect the likelihood that other individuals-including hostile foreign intelligence services -

would learn of and attempt to influence DANCHENKO's reporting for U.K. Investigative Firm-

1.


V. DANCHENKO's False Statements Regarding
     Allegations Sourced to Chamber President-1


        90.    In addition to making the aforementioned intentionally false statements to the FBI

during the Interviews, DANCHENKO also lied to the FBI regarding a call that he purportedly

received from someone he claimed to believe was Chamber President-1 (referenced in Paragraphs

42-43, supra) in or about July of 2016. Information that DANCHENKO attributed to that

purported call served as a basis for allegations that appeared in the Company Reports.

        91.    In particular, an allegation contained in an undated Company Report described a

"well-developed conspiracy of cooperation" between Donald Trump, the Trump Campaign, and

senior Russian officials. This allegation would ultimately underpin the four FISA applications

targeting Advisor-1. Specifically, the allegation stated:

               Speaking in confidence to a compatriot in late July 2016, Source
               E, an ethnic Russian close associate of Republican US
               presidential candidate Donald TRUMP,admitted that there was a
               well-developed conspiracy of co-operation between them and the
               Russian leadership. This was managed on the TRUMP side by the
               Republican candidate's campaign manager, [Campaign Manager-
               1], who was using foreign policy advisor,[Advisor-1], and others as
               intermediaries. The two sides had a mutual interest in defeating
               Democratic presidential candidate Hillary CLINTON, whom
               President PUTIN apparently both hated and feared, (capitalization
               in original).


                                                29
   Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 30 of 39 PageID# 30




(emphasis added). An additional allegation contained in this same Company Report indicated that

Russian diplomatic staff in Washington, D.C., New York, and Miami were paying U.S.-based

cyber actors to conduct operations against the Democratic Party and Hillary Clinton.

    A. DANCHENKO's Alleged Phone Call with Chamber President-1

       92.      During several interviews, including on or about March 16, 2017, May 18, 2017,

October 24, 2017, and November 2, 2017, DANCHENKO informed the FBI that he believed

"Source E" in the above-referenced allegations referred, at least in part, to Chamber President-1.

       93.      As described in further detail below, DANCHENKO falsely stated to the FBI

during the Interviews that in or around the summer of 2016, he received a phone call from an

anonymous Russian male who did not identify himself to DANCHENKO but who

DANCHENKO claimed to believe was Chamber President-1.

   B. DANCHENKO's False Statement Regarding
       his Alleged Phone Call with Chamber President-1

       94.      On or about January 24, 2017 and January 25, 2017, the FBI interviewed

DANCHENKO at an FBI office in Washington, D.C. about, among other things, his relationship

with Chamber President-1. During this interview, DANCHENKO falsely stated that, in or around

July 2016,he received a phone call from an unidentified individual who he believed to be Chamber

President-1.


       95.      In particular, DANCHENKO stated, in part:

             a. In or about June or July 2016, DANCHENKO communicated with a U.S.-based

Russian journalist ("Russian Journalist-1") who worked for a Russian state-run media outlet

("Russian Media Company-1") about reaching out to Chamber President-1. Russian Journalist-1

indicated that his colleague("Russian Joumalist-2") had a relationship with Chamber President-1.


                                               30
   Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 31 of 39 PageID# 31




             b. Thereafter, DANCHENKO reached out to Chamber President-1 via email twice.

             c. In or about July 2016,DANCHENKO received a call from an unidentified Russian

male who DANCHENKO believed - and claimed to still believe at the time of the Interviews -

to be Chamber President-1.


             d. DANCHENKO and the anonymous caller he believed to be Chamber President-1

spoke for approximately 10 to 15 minutes, during which DANCHENKO mentioned Advisor-1

and Campaign Manager-1. On the same call, the anonymous caller stated, among other things,

that there was communication between the Trump campaign and Russian officials, but that there

was "nothing bad about it." DANCHENKO claimed that the anonymous caller also indicated on

the call that the Kremlin might be of help to get Trump elected.

             e. DANCHENKO claimed that, on the call, he and the anonymous caller he believed

to be Chamber President-1 made arrangements to meet in New York.

       96.      When interviewed by the FBI on or about September 18 and 19,2017, U.K. Person-

I contradicted DANCHENKO's account.                 In particular, U.K. Person-1 stated that

DANCHENKO had met in-person with Chamber President-1 on two or three separate occasions

- at least once in New York City and perhaps once in Charleston, South Carolina.

       97.      U.K. Person-1 further stated that DANCHENKO sourced the aforementioned

allegation regarding Trump's purported salacious sexual activity, in part, to Chamber President-1.

Specifically, U.K. Person-1 stated that "Source D" in the Company Report dated June 20, 2016

was Chamber President-1.

       98.      DANCHENKO's January 24,2017 and January 25,2017 statements claiming that

he spoke with an individual that he believed to be Chamber President-1 and arranged to meet him

in New York, were knowingly and intentionally false. In truth and in fact, and as reflected in



                                               31
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 32 of 39 PageID# 32




contemporaneous communications, DANCHENKO did not receive such a call from Chamber

President-l, and did not agree to meet Chamber President-1 in New York. In particular, the above-

referenced statements were knowingly and intentionally false for the following reasons, among

others:

           a. On or about July 21, 2016 - the same time period as the purported "late July"

information referenced in the aforementioned, undated Company Report - DANCHENKO

emailed Chamber President-l, stating, in part:

                      Colleagues from [Russian Media Company-1] gave me your
                      contact information. You spoke to [Russian Journalist-2]
                      about Donald Trump and his trips to Russia. I wanted to ask
                      you: what projects was he looking into or were these just
                      image-building trips for beauty contests? There has been a
                      lot of speculation for months now on this topic. It would be
                      interesting to chat about this topic. The question is from a
                      construction company from Switzerland. I think a political
                      component exists, but it can be counterbalanced. Russian-
                      Chinese cooperation is also of great interest, the sanctions
                      aspect included. There are projects in Russia which are
                      looking for investors and equipment suppliers. Like many
                      others in Russia, they are looking at Asia - China and Hong
                      Kong - but they don't know how to approach. It's
                      confidential of course -1 don't have any relationship to the
                      media, though of course I do have acquaintances here. In
                      any case, it would be interesting if and when possible to chat
                      with you by phone or meet for coffee/beer in Washington or
                      in New York where I will be next week. I myself am in
                      Washington. It is also possible by e-mail in Russian or in
                      English. I sent you a request to Linkedin - there my work is
                      clearer.


          b. From on about July 26, 2016 through July 28, 2016, DANCHENKO traveled to

New York with a family member. On or about July 28, 2016, DANCHENKO visited, among

other places, the Bronx Zoo with the family member. During this trip, DANCHENKO did not

meet or communicate with Chamber President-l.




                                                 32
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 33 of 39 PageID# 33




           c. Also on or about July 28, 2016, DANCHENKO messaged an acquaintance the

following:"Another meeting tonight. Thanks to my reporting in the past 36 hours,[U.K. Person-

1] and [U.K. Investigative Firm Employee] are flying in tomorrow [i.e., July 29, 2016] for a few

days so I might be busy - don't know when but in Downtown D.C."

           d. On or about August 18, 2016 - more than two weeks after DANCHENKO

purportedly received the aforementioned anonymous call and allegedly agreed to meet with

Chamber President-1 in New York - DANCHENKO emailed Chamber President-1 and stated, in

part: "Hello [Chamber President-1], I wrote to you a few weeks ago. We are contacts on

Linkedin." DANCHENKO then described to Chamber President-1 a potential real estate

investment in Russia. DANCHENKO continued: "Ifthere is opportunity and interest, let's meet

and chat about this and other projects .... Write, call. My contact information is below."

           e.   DANCHENKO's August 18, 2016 email to Chamber President-1 - which post

dated the purported "late July" information from the aforementioned Company Report- reflected

that DANCHENKO had not, in fact, spoken with Chamber President-1 in "late July."

Specifically, DANCHENKO's email did not mention a possible call from Chamber President-1

in or about late July, did not discuss plans to meet in New York, did not ask why Chamber

President-1 did not show up to the alleged meeting in New York, and did not refer to any other

exchanges or interactions between DANCHENKO and Chamber President-1. Rather, and as

DANCHENKO's email made clear, DANCHENKO had not received any response from

Chamber President-1 ("I wrote you several weeks ago"), and was still hoping to arrange an in-

person meeting ("If there is opportunity and interest, let's meet and chat[.]").




                                                 33
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 34 of 39 PageID# 34




             f. Moreover, in a message dated on or about August 24, 2016 - which

DANCHENKO provided to the FBI - DANCHENKO emailed Russian Joumalist-2 and stated,

in part:

                Good Afternoon,[first name of Russian Joumalist-2],

                [Russian Joumalist-1] recommended that I get in touch with
                [Chamber President-1]. I've read your interviews with him. But
                for some reason [Chamber President-l] doesn't respond. I
                already both asked him about TRUMP (capitalization in original)
                and also proposed a project in Russia. What is your relationship
                with him like? Would you be able to ask him to reply to me? I
                could call or write on Linkedin, but until he responds I would
                not like to pester him.

(emphasis added). This August 24, 2016 email to Russian Joumalist-2 again reflected that

DANCHENKO had not, in fact, spoken with Chamber President-l in "late July." Specifically,

DANCHENKO's email did not mention a possible call from Chamber President-l, did not discuss

plans to meet in New York with Chamber President-l, and did not inform Russian Joumalist-2

that Chamber President-l did not show up to the alleged meeting in New York.

             g. Chamber President-l has claimed in public statements and on social media that he

never responded to DANCHEKNO's emails, and that he and DANCHENKO never met or

communicated.


       99.      On or about March 16, May 18, October 24, and November 16, 2017, the FBI

conducted additional interviews of DANCHENKO in the Eastern District of Virginia. In these

Interviews, DANCHENKO repeated, in substance, his prior false statements regarding a

purported anonymous call and a planned meeting in New York. In particular:

             a. In the    March   16, 2017 interview, which the FBI recorded            without

DANCHENKO's knowledge, DANCHENKO confirmed, in substance, his claim that he had

received an anonymous call from someone he believed was "probably" Chamber President-l,

                                               34
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 35 of 39 PageID# 35




stating, in part,"I have to talk to guys with [Russian Media Company-1]...[a]nd see what what's

he really about...[w]hether he was the person who contacted me[,][w]here he is now and and I

probably spoke with him, but I don't know. Anyway. Strange character."(emphasis added)

             b. In the interview conducted on or about May 18, 2017, which the FBI also recorded

without DANCHENKO's knowledge, DANCHENKO repeated, in substance, the same claim.

Specifically, an FBI agent reminded DANCHENKO that he had previously told the FBI that he

"got the call from the guy up in uh. New York [][t]hat you thought was [Chamber President-1],"

to which DANCHENKO responded,"yes." Thereafter, DANCHENKO stated, in part,"I'm not

sure if I, he called, but . .. I just don't remember. But I, I was at the time I was under the

impression it was him, because I talked to [] [Russian Media Company-1] [t]o [Russian

Journalist-2]. .. and I assumed it would have been him . . . He never showed up. He never

showed up in New York."(emphasis added).

             c. In a subsequent interview with the FBI on or about October 24, 2017,

DANCHENKO denied meeting in-person with Chamber President-1 in New York and

Charleston, South Carolina (which, as noted above, is what U.K. Person-1 told the FBI had

occurred).

             d. In that same interview, DANCHENKO stated, "I believe I spoke to [Chamber

President-1] on the phone a couple of times, at least someone who I thought was him," thus

confirming his earlier false assertions regarding an anonymous call and contradicting his earlier

statements that he had only spoken to the person he believed to be Chamber President-1 on one

occasion, (emphasis added).

             e. During the same interview, DANCHENKO also told FBI agents that "I scheduled

a meet time and place in New York [and][Chamber President-1] never showed."


                                               35
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 36 of 39 PageID# 36




        100.   In a subsequent November 16, 2017 interview, DANCHENKO repeated his false

claims to the FBI regarding Chamber President-1. Specifically, DANCHENKO stated, in

substance and in part, the following:

           a. U.K. Person-1 believed that DANCHENKO had direct contact {i.e., meetings)

with Chamber President-1, and DANCHENKO never corrected U.K. Person-1 about that

erroneous belief.


           b. DANCHENKO received a phone call from an individual who DANCHENKO

believed to be Chamber President-1. DANCHENKO based this belief on the fact that he

(DANCHENKO) had listened to online videos of Chamber President-1 speaking, and the

individual on the call "sounded like" the same person. The call lasted approximately 15 minutes.

           c. DANCHENKO and the person he purportedly believed to be Chamber President-

1 attempted to meet face-to-face in a midtown bar in New York City. Chamber President-1 never

showed up for the meeting.

VI. The Materialitv of DANCHENKO's Lies Regarding Chamber President-1

       101.    Based on the foregoing,DANCHENKO's lies to the FBI claiming to have received

a late July 2016 anonymous phone call from an individual that DANCHENKO believed to be

Chamber President-1 were highly material to the FBI because,among other reasons,the allegations

sourced to Chamber President-1 by DANCHENKO formed the basis of a Company Report that,

in turn, underpinned the aforementioned four FISA applications targeting a U.S. citizen (Advisor-

1). Indeed, the allegations sourced to Chamber President-1 played a key role in the FBI's

investigative decisions and in sworn representations that the FBI made to the Foreign Intelligence

Surveillance Court throughout the relevant time period.     Further, at all times relevant to this




                                               36
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 37 of 39 PageID# 37




Indictment, the FBI continued its attempts to analyze, vet, and corroborate the information in the

Company Reports.

                                         COUNT ONE


       102.    Paragraphs 1 to 101 are incorporated by reference.

       103.    On or about June 15, 2017, within the Eastern District of Virginia, IGOR

DANCHENKO, the defendant, did willfully and knowingly make a materially false, fictitious,

and fraudulent statement or representation in a matter before the jurisdiction of the executive

branch of the Government of the United States, to wit, on or about June 15, 2017, the defendant

denied to agents of the FBI that he had spoken with PR Executive-1 about any material contained

in the Company Reports, when in truth and in fact, and as the defendant well knew,PR Executive-

1 was the source for an allegation contained in a Company Report dated August 22,2016 and was

otherwise involved in the events and information described in the reports.

               (In violation of Title 18, United States Code, Sections 1001(a)(2))

                                         COUNT TWO


       104.    Paragraphs 1 to 101 are incorporated by reference.

       105.    On or about March 16, 2017, within the Eastern District of Virginia, IGOR

DANCHENKO, the defendant, did willfully and knowingly make a materially false, fictitious,

and fraudulent statement or representation in a matter before the jurisdiction of the executive

branch of the Government of the United States, to wit, on or about March 16, 2017, the defendant

stated to agents ofthe FBI that he received a late July 2016 telephone call from an individual who

DANCHENKO believed was "probably" Chamber President-1, when in truth and in fact, and as

the defendant well knew. Chamber President-1 never called DANCHENKO.

               (In violation of Title 18, United States Code, Sections 1001(a)(2))



                                               37
  Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 38 of 39 PageID# 38




                                        COUNT THREE


       106.    Paragraphs 1 to 101 are incorporated by reference.

       107.    On or about May 18, 2017, within the Eastern District of Virginia, IGOR

DANCHENKO, the defendant, did willfully and knowingly make a materially false, fictitious,

and fraudulent statement or representation in a matter before the jurisdiction of the executive

branch of the Government of the United States, to wit, on or about May 18, 2017, the defendant

stated to agents of the FBI that he "was under the impression" that a late July 2016 telephone call

that he received was from Chamber President-1, when in truth and in fact, and as the defendant

well knew. Chamber President-1 never called DANCHENKO.

               (In violation of Title 18, United States Code, Sections 1001(a)(2))

                                        COUNT FOUR


       108.    Paragraphs 1 to 101 are incorporated by reference.

       109.    On or about October 24, 2017, within the Eastern District of Virginia, IGOR

DANCHENKO, the defendant, did willfully and knowingly make a materially false, fictitious,

and fraudulent statement or representation in a matter before the jurisdiction of the executive

branch ofthe Government ofthe United States, to wit,on or about October 24,2017,the defendant

stated to agents ofthe FBI that he believed that he spoke to Chamber President-1 on the telephone

on more than one occasion, when in truth and in fact, and as the defendant well knew,

DANCHENKO never spoke to Chamber President-1.

               (In violation of Title 18, United States Code, Sections 1001(a)(2))




                                               38
         Case 1:21-cr-00245-AJT Document 1 Filed 11/03/21 Page 39 of 39 PageID# 39
1 '>




                                               COUNT FIVE

              110,   Paragraphs 1 to 101 are incorporated by reference.

              111.   On or about November 16, 2017, within the Eastern District of Virginia, IGOR

       DANCHENKO,the defendant, did willfully and knovdngly make a materially false, fictitious,

       and fraudulent statement or representation in a matter before the jurisdiction of the executive

       branch of the Government of the United States, to wit, on or about November 16, 2017, the

       defendant stated to agents ofthe FBI that he believed that he had spoken to Chamber President-1

       on the telephone, when in truth and in fact, and as the defendant well knew,DANCHENKO never

       spoke to Chamber President-1.

                     (In violation of Title 18, United States Code, Sections 1001(a)(2))




                                                                 JOHN H. DU    rAai^
                                                                 ^Sjjecial Counsel
                                                                  U.S. Department of Justice




       A TRUE BILL:




       Foreperson
       Date: November 3,2021




                                                    39
